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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION



UNITED STATES OF AMERICA               §
                                       §
V.                                     §   CRIMINAL NO. H-14-124
                                       §
MOLLIE ANN RICHARDSON                  §


                         REPORT AND RECOMMENDATION

       Before the court, by referral pursuant to 28 U.S.C. §636(b),

is the matter of the re-arraignment of Mollie Ann Richardson, the

defendant in this action.         On October 17, 2014, Defendant Mollie

Ann   Richardson     appeared   with   counsel    before   the   undersigned

magistrate judge for the purpose of entering a guilty plea to the

Indictment charging her with conspiracy to possess with intent to

distribute 50 grams or more of methamphetamine, in violation of 21

U.S.C. §§ 841(a)(1), (b)(1)(B)(viii) and 846.

       Defendant Richardson consented in writing to plead guilty

before a United States Magistrate Judge.             After conducting said

proceeding in the form and manner prescribed by Rule 11 of the

Federal Rules of Criminal Procedure, this court makes the following

findings of fact:

       1.    Defendant Richardson, after consultation with
             counsel of record and with the approval of the
             government, has knowingly and voluntarily consented
             to be advised of her rights and to enter a plea of
             guilty before a U.S. Magistrate Judge subject to
             final approval and imposition of sentence by United
             States District Judge Lee Rosenthal.

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        2.    Defendant Richardson is fully competent and capable
              of entering an informed plea.

        3.    Defendant Richardson is aware of the nature of the
              charges, the maximum punishment range and other penalties
              that may be imposed at sentencing.

        4.    Defendant Richardson understands her constitutional and
              statutory rights and wishes to waive those rights.

        5.    Defendant Richardson understands that the sentencing
              judge is not bound by any recommendation on sentencing
              made by either counsel for the government or counsel for
              the defendant, and that if a recommendation on sentencing
              is not followed by the sentencing judge, she may not
              withdraw her plea of guilty.

        6.    Defendant Richardson’s plea of guilty is a knowing and
              voluntary plea supported by an independent basis in fact
              containing each of the essential elements of the offense
              charged in Count 1 of the Indictment.

        Based upon the foregoing, it is RECOMMENDED that the guilty

plea     of   Defendant   Mollie   Ann   Richardson    to   Count   1   of    the

Indictment be accepted by the court and that Mollie Ann Richardson

be adjudged guilty of the offense alleged in Count 1 of the

Indictment, to wit: conspiracy to possess with intent to distribute

50 grams or more of methamphetamine, in violation of 21 U.S.C. §§

841(a)(1), (b)(1)(B)(viii) and 846.

        The Clerk shall send copies of this Report and Recommendation

to the respective parties who have fourteen (14) days from the

receipt thereof to file written objections thereto pursuant to

General Order 2002-13.        Failure to file written objections within

the time period mentioned shall bar an aggrieved party from

attacking the factual findings and legal conclusions on appeal.


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     The original of any written objections shall be filed with the

United States District Clerk, P.O. Box 61010, Houston, Texas,

77208.   Copies of such objections shall be mailed to opposing

parties and to the chambers of the undersigned, 515 Rusk, Suite

7019, Houston, Texas 77002.

     SIGNED at Houston, Texas, this 17th day of October, 2014.




                                   ______________________________
                                      U.S. MAGISTRATE JUDGE




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